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              7   Attorneys for Defendant
                  MOLINA HEALTHCARE, INC.
              8

              9                           UNITED STATES DISTRICT COURT
             10                      CENTRAL DISTRICT OF CALIFORNIA
             11                               LOS ANGELES DIVISION
             12
                  ERIN HILEY,                                  Case No. 2:17-cv-01465-VAP-PLA
             13
                             Plaintiff,                        JOINT NOTICE OF SETTLEMENT
             14
                       v.                                      Date Filed: January 20, 2017
             15
                  MOLINA HEALTHCARE, INC., a                   Trial Date: None Set
             16   Delaware Corporation, and Does 1
                  through 50, Inclusive,
             17
                             Defendant.
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                                              JOINT NOTICE OF SETTLEMENT
                                               Case No. 2:17-cv-01465-VP-PLA
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      Case 2:17-cv-01465-VAP-PLA Document 40 Filed 10/02/17 Page 2 of 2 Page ID #:283


              1         Plaintiff Erin Hiley and Defendant Molina Healthcare, Inc. hereby notify the
              2   Court that they reached a settlement agreement to resolve this case during the
              3   Court-ordered mediation on September 20, 2017. The parties are currently drafting
              4   a settlement agreement. The parties anticipate that they will need no more than
              5   35 days to finalize the settlement and allow for the applicable statutory waiting and
              6   revocation periods to pass, at which point Ms. Hiley will file a dismissal request.
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              8   Dated: October 2, 2017                          KEKER, VAN NEST & PETERS
                                                                  LLP
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                                                           By:    /s/ Matan Shacham
             11                                                   SUSAN J. HARRIMAN
                                                                  STEVEN P. RAGLAND
             12                                                   MATAN SHACHAM
             13                                                   Attorneys for Defendant
                                                                  MOLINA HEALTHCARE, INC.
             14

             15   Dated: October 2, 2017                          LAW OFFICES OF DONALD R.
                                                                  MCKILLOP
             16

             17                                                   /s/ Donald R. McKillop, Sr. (with
                                                           By:    permission)
             18                                                   DONALD R. McKILLOP, SR.
             19                                                   Attorneys for Plaintiff
                                                                  ERIN HILEY
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                                               JOINT NOTICE OF SETTLEMENT
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